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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

                                                      X
 ONTARIO TEACHERS’ PENSION PLAN                       : CIVIL ACTION NO.
 BOARD, Individually and as Lead Plaintiff on         : 3:17-cv-00558-SRU
 behalf of all others similarly situated; and         :
 ANCHORAGE POLICE & FIRE RETIREMENT                   :
 SYSTEM, Individually and as Named Plaintiff on       :
 behalf of all similarly-situated bond purchasers,    :
                                                      :
       Plaintiffs,                                    :
                                                      :
       v.                                             :
                                                      :
 TEVA PHARMACEUTICAL INDUSTRIES LTD.;                 :
 EREZ VIGODMAN; EYAL DESHEH; ALLAN                    :
 OBERMAN; SIGURDUR OLAFSSON;                          :
 DEBORAH GRIFFIN; MAUREEN CAVANAUGH                   :
 AND TEVA PHARMACEUTICAL FINANCE                      :
 NETHERLANDS III B.V.,                                : MARCH 12, 2019
                                                      :
        Defendants.                                   :
                                                      X


 DECLARATION OF IRWIN B. SCHWARTZ IN FURTHER SUPPORT OF PUTATIVE
  CLASS MEMBER CALIFORNIA STATE TEACHERS RETIREMENT SYSTEM’S
                       MOTION TO INTERVENE

I, Irwin B. Schwartz, declare under the pains and penalties of perjury as follows:

      1.      I am the principal of BLA Schwartz, PC (“BLA Schwartz”), counsel of

record for putative class member California State Teachers Retirement System

(“CalSTRS”). The information contained in this Declaration is true and correct and is

based on my personal knowledge.

      2.      Through our firm, CalSTRS has been monitoring the Teva case since

November 17, 2016.

      3.      I first discussed the implications of the statute of repose with class counsel

on February 9, 2018.

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       4.     After this Court granted Teva’s first motion to dismiss in April 2018, I

discussed that decision with both plaintiffs’ and defendants’ counsel.

       5.     After the Amended Consolidated Class Action Complaint was filed, we

calendared the expiration dates for the statute of repose under 28 U.S.C. § 1658, the

first of which for CalSTRS was February 6, 2019.

       6.     As the first relevant statute of repose deadline approached, my firm on

CalSTRS’ behalf requested through counsel that the Teva defendants enter into a

tolling agreement to allow CalSTRS to seek to preserve its claims against Teva pending

the Court’s decision on Teva’s motion to dismiss and on class certification.

       7.     Teva refused through counsel on January 30, 2019.

       8.     On February 6, 2019, CalSTRS offered to provide its relevant trading

records to both plaintiffs’ and defendants’ counsel. Plaintiffs’ counsel accepted that

offer and we provided the CalSTRS trading data the same day. Teva ignored our offer.

       9.     Attached hereto as Exhibit A is a true and correct copy of Teva’s

Memorandum of Law in Support of Motion to Transfer filed in The Phoenix Ins. Co. v.

Teva Pharmaceutical Industries, Inc., No. 2:18-cv-03305-PD (E.D. Pa.).




Pursuant to 17 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is

true and correct.

Executed on this 12th day of March 2019.




                                   By:    /s/ Irwin B. Schwartz
                                          Irwin B. Schwartz, Esq.


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